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‘Testing data as of: 8/91/2020 Midnight
= |Benatment of NYSDOH COVID-19 Tracker Ts a pnd or 700
Sei ils == ere ee
a ee Persons Tested Positive by County GD Gl a
Albany 2,786 *
Bel | Maer met tLe | Allegany 89
@ 01-99 Bronx 51,663
wer LO OL GB 100-499 Broome 1,311
i 500-999 Cattaraugus 206
B@ 1,000-4,999 Cayuga 180
@ 5,000-9,999 Chautauqua 405
Oe Ceo Reg i 10,000-14,999 Chemung 205
v3) fs) Wd @ 15,000-19,999 Chenango 229
] i 20,000+ Clinton 151
Columbia 569
Cortland 101
si Delaware 115
BOC Men Dutchess 4,868
Erie 9,947
Boel Essex 131
Franklin 58

Fulton 341%

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